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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

VALERIA WILCOX                                        )
Plaintiff,                                            )       CIVIL ACTION NO.
                                                      )
                 V.                                   )
                                                      )       JURY TRIAL DEMANDED
VOICES OF FAITH MINISTRY, INC d/b/a                   )
VOICES OF FAITH CHRISTIAN DAYCARE                     )
AND GARY HAWKINS                                      )
                                                      )
        Defendants                                    )




                                          COMPLAINT


        Plaintiff Valeria Wilcox, by and through their undersigned counsel, respectfully submit

this Complaint against Defendant Voices of Faith Ministry, Inc. and Gary Hawkins

(“Defendants”) and show the Court as follows:

                                  I. NATURE OF THE CLAIM

1.      Plaintiff brings this action to redress Defendants’ violations of the Fair Labor Standards

Act of 1938 (“FLSA”), as amended, 29 U.S.C. §§ 201 et seq.

2.      At all times during the fourteen years immediately preceding the initiation of this action

(“the Relevant Time Period”) Defendants operated a business known as Voices of Faith

Ministries, Inc. (“Voices of Faith” or Defendant) from a facility located at 2500 Rockbridge Rd.

SW, Stone Mountain, Georgia.

3.      Defendants employed Valeria Wilcox at the Voices during the Relevant Time Period.

                                II. JURISDICTION AND VENUE

4.      This Court has subject matter jurisdiction over the present action under Article III, § 2 of

the United States Constitution, FLSA §16(b), 29 U.S.C. §216(b), and 28 U.S.C. § 1331 because

this action arises under the FLSA, a federal statute that affects interstate commerce.

5.      Under 28 U.S.C. § 1391 (b), venue properly lies in the Northern District of Georgia

because a substantial part of the events or omissions giving rise to the claims at issue occurred in

this judicial district.
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                                      III. THE PARTIES

6.     Plaintiff Wilcox resides in Stone Mountain, Georgia.

7.     Defendant is a corporation organized under the laws of the State of Georgia and is

authorized to do business in the State of Georgia.

8.     Defendant Voices of Faith has its principal place of business at 2500 Rockbridge Rd.

SW, Stone Mountain, Georgia.

9.     Defendant can be served via its registered agent The Smith Legal Group, located at 6886

Main Street, Suite 214, Lithonia, Georgia.

10.    Defendant Gary Hawkins is founding pastor and proprietor of Defendant Voices of Faith

Ministry, Inc.

11.    Upon information and belief, at all times relevant to this action, Defendant Gary Hawkins

was proprietor of Voices of Faith Ministry, Inc., active in the interest of an employer towards

Plaintiff, and exercised responsibility and control over Plaintiff’s compensation and terms of

employment and exercised operational control of a company’s covered enterprise. Therefore,

Defendant Hawkins may be held liable in his individual capacity as an “employer” for

Defendants’ FLSA violations.

12.    Upon information and belief Defendant Hawkins is a resident of Lithonia, Georgia. and is

subject to service at his principal place of business at 2500 Rockbridge Rd. SW, Stone Mountain,

Georgia.

                               IV. ENTERPRISE COVERAGE

13.    At all times during the Relevant Time Period Defendant Voices of Faith Ministry, Inc.

was an “enterprise engaged in commerce or in the production of goods for commerce” as defined

in FLSA, § 6(a), 29 U.S.C. § 206(a) and FLSA, § 7(a)(1), 29 U.S.C. § 207(a)(1).

14.    During 2016, Defendant Voices of Faith Ministry, Inc. had two or more “employees

engaged in “commerce” as defined by 29 U.S.C. § 203(s)(1)(A).

15.    During 2017, Defendant Voices of Faith Ministry, Inc. had two or more “employees

engaged in commerce” as defined by 29 U.S.C. § 203(s)(1)(A).

16.    During 2018, Defendant Voices of Faith Ministry, Inc. had two or more “employees

engaged in commerce” as defined by 29 U.S.C. § 203(s)(1)(A).

17.    At all times during the Relevant Time Period, the Plaintiff and at least two other

employees of Defendant Voices of Faith Ministry, Inc. assisted and oversaw the operations of
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Voices of Faith Ministries Daycare which moved in interstate commerce in furtherance of the

commercial purpose of Defendant Voices of Faith Ministry, Inc

18.    At all times during 2016, Defendant Voices of Faith Ministry, Inc. had two or more

“employees handling, selling or otherwise working on goods or materials that have been moved

in or produced for commerce by any person” as defined in 29 U.S.C. §203(s)(1)(A).

19.    At all times during 2017, Defendant Voices of Faith Ministry, Inc. had two or more

“employees handling, selling or otherwise working on goods or materials that have been moved

in or produced for commerce by any person” as defined in 29 U.S.C. §203(s)(1)(A).

20.    At all times during 2018, Defendant Voices of Faith Ministry had two or more

“employees handling, selling or otherwise working on goods or materials that have been moved

in or produced for commerce by any person” as defined in 29 U.S.C. §203(s)(1)(A).

21.    Upon information and belief, during 2016, Defendant Voices of Faith Ministry, Inc. had

an annual gross volume of sales made or business done of not less than $500,000 (exclusive of

excise taxes at the retail level that are separately stated) within the meaning of 29, U.S.C.

§203(s)(1)(A).

22.    Upon information and belief, during 2017, Defendant Voices of Faith Ministry, Inc. had

an annual gross volume of sales made or business done of not less than $500,000 (exclusive of

excise taxes at the retail level that are separately stated) within the meaning of 29, U.S.C.

§203(s)(1)(A).

23.    Upon information and belief, during 2018, Defendant Voices of Faith Ministry, Inc. had

an annual gross volume of sales made or business done of not less than $500,000 (exclusive of

excise taxes at the retail level that are separately stated) within the meaning of 29, U.S.C.

§203(s)(1)(A).

24.    At all times during the Relevant Time Period, Defendant Voices of Faith Ministry, Inc.

has been an “enterprise engaged in commerce or in the production of goods for “commerce” as

defined in FLSA § 3(s)(1), 29 U.S.C. § 203(s)(1).

                      V. EMPLOYER / EMPLOYEE RELATIONSHIP

25.    At all times during the Relevant Time Period, Defendant Voices of Faith Ministry, Inc.

was an “employer” of Plaintiff Wilcox as defined in FLSA § 3(d), 29 U.S.C. § 203(d).

26.    At all times during the Relevant Time Period, Plaintiff Wilcox was an “employee” of

Defendant Voices of Faith Ministry, Inc. as defined in the FLSA § 3(e)(1), 29 U.S.C. §203(e)(1).
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                        VI. ADDITIONAL FACTUAL ALLEGATIONS

27.     Plaintiff Wilcox performed the duties of an Assistant Director at the Voices of Faith

Ministries Daycare and oversaw its operations from approximately 2005 through 2019 .

28.     At all times relevant to this action, Defendants classified Plaintiff Wilcox as exempt for

FLSA purposes and paid per hour for all work performed.

29.     Plaintiff Wilcox worked an average of 60 hours per week.

30.     Plaintiff was a non-exempt employee of Defendants within the meaning of the FLSA and

was subject to the overtime provisions of the FLSA.

31.     Plaintiff was closely supervised by Defendant’s supervisors and was required to follow

specific guidelines, instructions, and policies in the performance of her duties.

32.     Throughout her employment, Plaintiff regularly worked hours in excess of 40 hours per

workweek for which Defendants failed to compensate her at a rate of pay equal to one- and one-

half times her regular rate.

33.     Plaintiff’s supervisors were aware of the hours Plaintiff worked for which she was not

properly compensated.

34.     Plaintiff was deprived of compensation to which she is entitled through Defendants’

custom, policy, and/or practice of misclassifying Plaintiff as exempt from the overtime

provisions of the FLSA.

35.     As a result of this custom, policy, and/or practice, Defendants’ failed to credit and pay

Plaintiff properly for all overtime hours she worked—i.e., all hours worked over 40 within each

workweek—in violation of the FLSA.

36.     Defendants have willfully and intentionally failed and/or refused to compensate Plaintiffs

in accordance with the FLSA.

                                        VII. COUNT ONE

                               FAILURE TO PAY OVERTIME WAGE

37.     Plaintiff incorporates herein all the allegations contained in the preceding paragraphs as if

fully set out herein.

38.     At all times during the Relevant Time Period, Plaintiff was an employee covered by the

FLSA and entitled to the overtime protections set forth in FLSA § 7(a). 29 U.S.C. §207(a).

39..    During the Relevant Time Period, Plaintiff regularly worked on Defendants behalf and

for its benefit in excess of forty (40) hours during each week.
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40.    The FLSA, 29 U.S.C. §§ 201, et seq. requires an employer to pay its employees at the

overtime rate of one- and one-half times the regular rate of pay for the hours worked in excess of

forty (40) hours per workweek.

41.    Defendants failed to pay Plaintiff at the required overtime rate of one-and one-half times

her regular hourly rate for work she performed on its behalf and for its benefit in excess of 40

hours in any week.

42.    Defendants’ failure to pay the required overtime rate was willful. Defendant has not acted

in good faith nor with reasonable grounds to believe their actions and omissions were not a

violation of the FL SA. As a result of the underpayment of overtime compensation as alleged

above, Plaintiff is entitled to payment of overtime in an amount to be determined at trial,

in accordance with FLSA § 16(b), 29 U.S.C § 216(b).

43.    As a result of the underpayment of overtime compensation as alleged above, Plaintiff is

entitled to liquidated damages in accordance with FLSA § 16(b), 29 U.S.C § 216(b).

44.    As a result of the underpayment of overtime compensation as alleged above, Plaintiff is

entitled to her litigation costs, including her reasonable attorney’s fees in accordance with FLSA

§ 16(b), 29 U.S. C. §216(b).

45.    As a result of Defendants’ violated the overtime provisions of the FLSA,

thus Plaintiff suffered damages.

       WHEREFORE, Plaintiff respectfully requests the following relief:

       A) That Plaintiff be awarded against Defendants the unpaid overtime

compensation due under the FLSA at one and a half times her applicable regular

rates for all hours worked in excess of forty (40) hours per week in an amount to be

determined at trial, plus additional like amounts in liquidated damages;

       B) That the Court permanently enjoin Defendants from violating the

overtime provisions of the FLSA;

       C) Pre- and post-judgment interest;

       D) That Plaintiff be awarded her costs of litigation, including reasonable

attorney fees from Defendants; and

       E) Such further and appropriate relief as the Court may deem necessary.
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                               DEMAND FOR JURY TRIAL

          Plaintiff respectfully request a trial by jury on all issues deemed so triable.

                                                     Respectfully Submitted,




                                                     /s/Danielle Bess Obiorah
                                                     Danielle Obiorah
                                                     State Bar No. 055770
Counsel for Plaintiff
Obiorah Fields, LLC
157 S. McDonough Street
Jonesboro, Georgia 30236
404-994-6218 (phone)
877-828-8956 (facsimile)
dbo@obiorahfields.com
